                                     Ex.
        Case 1:21-mi-55555-JPB Document   G Filed 04/24/23 Page 1 of 4
                                        535-9

     THOMAS MATTHEW MASHBURN· 30(b)(6)                         March 07, 2023
     IN RE GEORGIA SENATE BILL 202                                          1

·1· · · · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA

·3· · · · · · · · · · · · ATLANTA DIVISION

·4

·5

·6· ·IN RE GEORGIA SENATE BILL 202· · · · · Master Case No:
· · · · · · · · · · · · · · · · · · · · · · 1:21-MI-55555-JPB
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11· · · · · · · ·30(B)(6) VIDEOTAPED DEPOSITION OF

12· · · · · · · · · GEORGIA STATE ELECTION BOARD

13· · · · · · · · · · (THOMAS MATTHEW MASHBURN)

14· · · · · · · · · · · · ·March 7, 2023

15· · · · · · · · · · · · · ·9:59 a.m.

16· · · · · · · · 1600 Parkwood Circle, Suite 200

17· · · · · · · · · · · ·Atlanta, Georgia

18

19

20

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· · · · · · · · · · Marcella Daughtry, RPR, RMR
22· · · · · · Georgia License No. 6595-1471-3597-5424
· · · · · · · · · · · California CSR No. 14315
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       Case 1:21-mi-55555-JPB Document 535-9 Filed 04/24/23 Page 2 of 4

   THOMAS MATTHEW MASHBURN· 30(b)(6)                            March 07, 2023
   IN RE GEORGIA SENATE BILL 202                                           103

·1· ·State has been very busy on that one, too.· But yeah,
·2· ·we're acutely aware of line lengths.
·3· · · · Q· ·And would you agree that historically in
·4· ·Georgia there have been lines up to, you know, five,
·5· ·eight hours even or beyond?
·6· · · · A· ·Yeah.· One of my earliest memory in elections
·7· ·was as a child, my mother took me to vote, and we showed
·8· ·up before the 5 o'clock news, and the 11 o'clock news we
·9· ·were still in line.· And people were driving by telling
10· ·us who had won, and we were still in line.· So, you know,
11· ·that was when I was a child.
12· · · · · · So Georgia has historically had a very bad
13· ·problem with line length, and -- and my involvement in
14· ·watching lines as -- as a monitor, a statewide election
15· ·monitor, statewide poll watcher, I have watched, you
16· ·know, lots and lots, hours.· I don't know of anybody in
17· ·Georgia that's watched more people in line than me
18· ·because I have been doing it for 20 years.
19· · · · · · And so just the -- so this board, in recent
20· ·memory, this board, in the time frame of this notice, has
21· ·been more proactive about trying to do something about
22· ·lines than I've ever seen in my lifetime.
23· · · · Q· ·Would you agree that waiting in those lines,
24· ·you know, and in your own experience, you -- you
25· ·referenced can be quite exhausting physically?


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       Case 1:21-mi-55555-JPB Document 535-9 Filed 04/24/23 Page 3 of 4

   THOMAS MATTHEW MASHBURN· 30(b)(6)                            March 07, 2023
   IN RE GEORGIA SENATE BILL 202                                           104

·1· · · · A· ·Yeah.· I haven't seen anybody pass out like
·2· ·some of the people say on the -- on the talking heads on
·3· ·TV, but you -- you don't like to stand in line for
·4· ·eight -- eight or nine hours.· So the key is to not make
·5· ·people comfortable in a ridiculously long line, just make
·6· ·the ridiculously long line go away.
·7· · · · Q· ·Would you agree that to folks waiting in very
·8· ·long lines, receiving any bottles of water and perhaps
·9· ·food if they are getting hungry waiting hours on end can
10· ·provide some sort of relief and encourage them to stay?
11· · · · A· ·Yeah, that -- that had just gotten out of
12· ·control.· We had people giving out like phone chargers
13· ·for free.· And we had, you know, candidates showing up
14· ·with pizza -- pizza and stuff, only in their district.
15· ·So it had just gotten out of control, and it just needed
16· ·to be dialed back.· Because if you don't understand the
17· ·history of Georgia -- I'm not saying that you don't.· I'm
18· ·sure you do.· But this voter protection bubble is a big
19· ·innovation, because in Georgia's history, we have --
20· ·Georgia has a history where people in line were yanked
21· ·out of line and beat up by the sheriff.· So there is
22· ·voter intimidation and harassment.
23· · · · · · And so Georgia created this protection bubble
24· ·where the voter can have this refuge from people trying
25· ·to intimidate them or campaign them, campaign with them.


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              Case 1:21-mi-55555-JPB Document 535-9 Filed 04/24/23 Page 4 of 4

      THOMAS MATTHEW MASHBURN· 30(b)(6)                                     March 07, 2023
      IN RE GEORGIA SENATE BILL 202                                                    262

·1· · · · · · · · · · CERTIFICATE OF REPORTER

·2· ·STATE OF GEORGIA· · )
· · · · · · · · · · · · ·)
·3· ·COUNTY OF DEKALB· · )

·4

·5·   · · · · · · · · ·I, Marcella Daughtry, a Certified
· ·   ·Reporter in the State of Georgia and State of California,
·6·   ·do hereby certify that the foregoing deposition was taken
· ·   ·before me in the County of DeKalb, State of Georgia; that
·7·   ·an oath or affirmation was duly administered to the
· ·   ·witness, THOMAS MATTHEW MASHBURN; that the questions
·8·   ·propounded to the witness and the answers of the witness
· ·   ·thereto were taken down by me in shorthand and thereafter
·9·   ·reduced to typewriting; that the transcript is a full,
· ·   ·true and accurate record of the proceeding, all done to
10·   ·the best of my skill and ability;

11·   · · · · · The witness herein, THOMAS MATTHEW MASHBURN,
· ·   ·has requested signature.
12
· ·   · · · · · I FURTHER CERTIFY that I am in no way related
13·   ·to any of the parties nor am I in any way interested in
· ·   ·the outcome hereof.
14

15· · · · · · IN WITNESS WHEREOF, I have set my hand in my
· · ·office in the County of DeKalb, State of Georgia, this
16· ·20th day of March, 2023.

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· ·   ·   ·    ·   ·   ·   ·   ·   ·   ·   ·   ______________________________
20·   ·   ·    ·   ·   ·   ·   ·   ·   ·   ·   Marcella Daughtry, RPR, RMR
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